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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



UNITED STATES OF AMERICA

       vs.                                           CASE NO.8:98-CR-433-T-24EAJ


DARRELL BURNEY

                                          ORDER


   This matter is before the Court on the Defendant's Blakely Motion for Reduction of

Sentence. (doc. 491) Defendant argues a number of things in his motion including entitlement

to a reduction because of a minor role, the evidence was insufficient to support a conviction, his

sixth amendment rights were violated because a jury did not determine the drug quantity and

the obstruction of justice enhancement. The motion is without merit and is DENIED.

       To the extent Defendant brings his claims pursuant to Title 28 U.S.C. section 2255,

Defendant's motion is untimely. Defendant Burney was convicted by a jury and judgment

entered on October 5, 1999. Defendant appealed and the judgment and sentence were affirmed

and the mandate issued on January 30, 2002. The instant motion was filed on March 10, 2005.

       To the extent the Defendant relies on Blakely v. Washington, 124 S. Ct. 2531 (2004) or

United States v. Booker, 125 S. Ct. 2531 (2004) , neither case is retroactively applicable to cases

on collateral review. See. Varela v. U.S., 400 F.3d 864 (11th Cir. 2005).

       The motion is DENIED

        Done and ordered in Tampa, Florida this 23rd day of May, 2005.
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 Copies: Darrell Burney, pro se




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